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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF MISSOURI

 In re:                                               )      Case No. 18-60521
                                                      )      (Joint Administration Pending)
 FAMILY PHARMACY, INC.,                               )      Chapter 11
                                                      )
                                Debtor.               )

 In re:                                               )      Case No. 18-60523
                                                      )      (Joint Administration Pending)
 FAMILY PHARMACY OF MISSOURI, LLC,                    )      Chapter 11
                                                      )
                                Debtor.               )

 In re:                                               )      Case No. 18-60526
                                                      )      (Joint Administration Pending)
 HEALTHTAC LOGISTICS, LLC,                            )      Chapter 11
                                                      )
                                Debtor.               )

 In re:                                               )      Case No. 18-60525
                                                      )      (Joint Administration Pending)
 FAMILY PROPERTY MANAGEMENT, LLC,                     )      Chapter 11
                                                      )
                                Debtor.               )

 In re:                              )                       Case No. 18-60524
                                     )                       (Joint Administration Pending)
 FAMILY PHARMACY OF STRAFFORD, INC., )                       Chapter 11
                                     )
                     Debtor.         )

                                            AGENDA
                                  May 1, 2018, 2:00 p.m. Hearing


        The Debtors submit the following proposed agenda for the first day hearings in the
 above-referenced matters, which are scheduled for May 1, 2018 at 2:00 p.m.

                   1.    Debtors’ Emergency Motion for Expedited Order Directing Joint
                         Administration of Affiliated Cases (Docket No. 8)

                   2.    Emergency Motion for (I) Authorization for Debtors to Obtain Post-
                         Petition Financing from JM Smith Corporation, as Lender, Pursuant to
                         Section 364 of the Bankruptcy Code, (II) Granting Liens and Super-
                         Priority Claims, (III) For an Expedited Order Pursuant to §§ 361 And 363


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                         of the Bankruptcy Code and Bankruptcy Rule 4001(B) Authorizing
                         Debtor to Use Cash Collateral and Grant of Adequate Protection and (IV)
                         Scheduling the Final Hearing on the Debtors’ Motion and Approving the
                         Form and Method of Notice Thereof (Docket No. 14)

                   3.    Emergency Motion for Expedited Order Authorizing Payment of Pre-
                         Petition Employee Claims and Continuation of Employee Benefit Plans
                         (Docket No. 11)

                   4.    Emergency Motion for Expedited Order Authorizing Maintenance of Cash
                         Management System and Continued Use of Certain Existing Bank
                         Accounts, Deposit Practices and Certain Business Forms (Docket No. 12)

                   5.    Emergency Motion for Determination that Section 333 Is Not Applicable
                         in this Case or, in the Alternative, Appointment of a Patient Care
                         Ombudsman is Not Necessary (Docket No. 15)

                   6.    Debtor’s Emergency Motion for Entry of an Order Authorizing Additional
                         Time to File Schedules and Statements of Financial Affairs (Docket
                         No. 16 )

                   7.    Debtors’ Emergency Motion for Order Determining Adequate Assurance
                         of Payment for Post-Petition Utility Services (Docket No. 13)

                   8.    Emergency Motion for Expedited Order Authorizing Assumption of the
                         Interim Management and Financial Advisory Services Agreement of
                         Lloyd & MacLaughlin, LLC (Docket No. 17)

 Dated: May 1, 2018                           Respectfully submitted,

                                              HUSCH BLACKWELL LLP


                                              /s/ John J. Cruciani
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                                              Proposed Attorneys for the
                                              Debtors and Debtors-in-Possession


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 1st day of May, 2018, the above and foregoing document was
 filed electronically using CM/ECF and a true and correct copy of the above and foregoing was
 served as follows:

          __X__ upon filing, the CM/ECF system sent notification to Debtor’s counsel and
                all parties participating in the CM/ECF system in this matter.


                                             /s/ John J. Cruciani
                                             Attorney




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